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                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           JAN 16 2018
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
JOANNE FARRELL, on behalf of herself               No.   17-55847
and all others similarly situated,
                                                   D.C. No.
                   Plaintiff-Appellee,             3:16-cv-00492-L-WVG
                                                   Southern District of California,
  v.                                               San Diego

BANK OF AMERICA, N.A.,                             ORDER

                   Defendant-Appellant.

       The joint motion (Docket Entry No. 11) to stay appellate proceedings

pending resolution of settlement is granted. Appellate proceedings are stayed until

July 2, 2018.

       At or prior to the expiration of the stay of appellate proceedings, the parties

shall file a status report and a motion for appropriate relief, or appellant shall file

the opening brief.

       If the opening brief is filed, the answering brief will be due August 1, 2018.

The optional reply brief is due within 21 days after service of the answering brief.

                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT

                                                   By: Grace Santos
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7




GS 01/08/2018/Pro Mo
